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            United States Court of Appeals
                                For the Seventh Circuit
                                Chicago, Illinois 60604

                                   December 8, 2017

By the Court:

UNITED STATES OF AMERICA,                     ] Appeals from the United
   Plaintiff-Appellee,                        ] States District Court for
                                              ] the Northern District of
Nos. 17-1650, 17-2854, 17-2858, 17-2877,      ] Illinois, Eastern Division.
     17-2899, 17-2917, 17-2918, 17-2931 v.    ]
     and 17-3449                              ]
                                              ] No. 1:13-cr-00774
BYRON BROWN, also known as B-Rupt,            ]
WILLIAM FORD, GABRIEL BUSH, PARIS POE, ] John J. Tharp, Jr., Judge.
DERRICK VAUGHN, STANLEY VAUGHN,               ]     Judge.
ARNOLD COUNCIL, GREGORY CHESTER and ]
RODNEY JONES,                                 ]
    Defendants-Appellants.                    ]
______________________________________________________________________________
UNITED STATES OF AMERICA,                     ] Appeal from the United
    Plaintiff-Appellee,                       ] States District Court for
                                              ] the Northern District of
No. 17-3063          v.                       ] Illinois, Eastern Division.
                                              ]
GREGORY CHESTER,                              ] No. 1:13-cr-00288
    Defendant-Appellant.                      ]
                                              ] John J. Tharp, Jr.,
                                              ]     Judge.

                                      ORDER



      The briefing schedule in Appeal Nos. 17-2854, 17-2858, 17-2877, 17-2899, 17-2917,
17-2918, 17-2931, 17-3063 and 17-3449 remains SUSPENDED pending a ruling on
counsel’s motion to withdraw in 17-2858 and 17-3449.
